Case 1:17-cv-02897-TWP-MPB Document 160 Filed 08/20/20 Page 1 of 3 PageID #: 2678




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  INDIANA STATE CONFERENCE OF THE                      )
  NATIONAL ASSOCIATION FOR THE                         )
  ADVANCEMENT OF COLORED PEOPLE                        )
  (NAACP), and LEAGUE OF WOMEN                         )
  VOTERS OF INDIANA,                                   )
                                                       )
                                   Plaintiffs,         )
                                                       )
                              v.                       )       No. 1:17-cv-02897-TWP-MPB
                                                       )
  CONNIE LAWSON in her official capacity as            )
  Secretary of State of Indiana,                       )
  J. BRADLEY KING in his official capacity as          )
  Co-Director of the Indiana Election Division, and    )
  ANGELA NUSSMEYER in her official capacity            )
  as Co-Director of the Indiana Election Division,     )
                                                       )
                                   Defendants.         )

                     FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58

         The Court having this day made its Entry directing the entry of final judgment, the Court

  now enters FINAL JUDGMENT.

         Judgment is entered in favor of Plaintiffs Indiana State Conference of the National

  Association for the Advancement of Colored People and League of Women Voters of Indiana and

  against Defendants Connie Lawson, Bradley King, and Angela Nussmeyer.

         The Defendants are ENJOINED from implementing SEA 334 §§ 5.5(d)–(f) and from

  otherwise removing any Indiana registrant from the list of eligible voters because of a change in

  residence absent: (1) a request or confirmation in writing directly from the voter that the voter is

  ineligible or does not wish to be registered; or (2) the NVRA-prescribed process of (a) notifying

  the voter, (b) giving the voter an opportunity to respond, and (c) then waiting two inactive federal

  election cycles.
Case 1:17-cv-02897-TWP-MPB Document 160 Filed 08/20/20 Page 2 of 3 PageID #: 2679




         Judgment is entered accordingly, and this action is TERMINATED.




  Dated: 8/20/2020

                                            TANYAWALTONPRATT,J    UDGE
                                            Unit
                                               edSta
                                                   tesDist
                                                         ri
                                                          ctCourt
  Roger A.G. Sharpe, Clerk of Court         Sout
                                               her
                                                 nDi s
                                                     tri
                                                       ctofI
                                                           ndia
                                                              na


  By: _____________________________
         Deputy Clerk




                                              2
Case 1:17-cv-02897-TWP-MPB Document 160 Filed 08/20/20 Page 3 of 3 PageID #: 2680




   Distribution:

   Courtney Lyn Abshire                     Trent A. McCain
   INDIANA ATTORNEY GENERAL                 MCCAIN LAW OFFICES, P.C.
   courtney.abshire@atg.in.gov              Trent@McCain.Law

   Jefferson S. Garn                        Ellison Sylvina Ward Merkel
   INDIANA ATTORNEY GENERAL                 QUINN EMANUEL URQUHART &
   Jefferson.Garn@atg.in.gov                SULLIVAN LLP
                                            ellisonmerkel@quinnemanuel.com
   Rebecca L. McClain
   INDIANA ATTORNEY GENERAL                 Myrna Perez
   rebecca.mcclain@atg.in.gov               BRENNAN CENTER FOR JUSTICE
                                            perezm@brennan.law.nyu.edu
   Diana Lynn Moers
   INDIANA ATTORNEY GENERAL                 Sascha N. Rand
   diana.moers@atg.in.gov                   QUINN EMANUEL URQUHART &
                                            SULLIVAN LLP
   Aleksandrina Penkova Pratt               sascharand@quinnemanuel.com
   INDIANA ATTORNEY GENERAL
   aleksandrina.pratt@atg.in.gov            Eliza Max Sweren-Becker
                                            BRENNAN CENTER FOR JUSTICE
   Kelly Suzanne Thompson                   eliza.sweren-becker@nyu.edu
   INDIANA ATTORNEY GENERAL
   kelly.thompson@atg.in.gov                Ellyde R. Thompson
                                            QUINN EMANUEL URQUHART &
                                            SULLIVAN LLP
                                            ellydethompson@quinnemanuel.com

                                            Alexandre J. Tschumi
                                            QUINN EMANUEL URQUHART &
                                            SULLIVAN LLP
                                            alexandretschumi@quinnemanuel.com




                                        3
